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                       UNITED STATES DISTRICT COURT FOR THE
                               DISTRICT OF COLUMBIA


NATALIE KIMBERLY KHAWAM,                     )
                                             )
              Plaintiff                      )      Case No.:
                                             )
                  v.                         )
                                             )
GRAYSON PAUL WOLFE                           )
                                             )
              Defendant.                     )


                                VERIFIED COMPLAINT
                            FOR PRELIMINARY INJUNCTION

                                           PARTIES

1)    The Plaintiff, Natalie Kimberly Khawam, is a resident and citizen of the State of Florida,

residing in the county of Hillsborough, and is the ex-wife of the Defendant Grayson Paul Wolfe.

Plaintiff also maintains a residence in the District of Columbia.

2)    Defendant, Grayson Paul Wolfe (the Defendant or “Mr. Wolfe”), is a resident of the

District of Columbia, and is the ex-husband of Plaintiff.



                                   JURISDICTION AND VENUE

3)    This court has jurisdiction pursuant to 18 U.S.C. §1030(g), 18 U.S.C. §2701, 18 U.S.C. §

2707, and Fed. R. Civ. P 65.

4)    Venue is proper in this court pursuant to 28 U.S.C. § 1391(b)(1) based on the residence

of the Defendant and based on 18 U.S.C. § 1391(b)(2) because a substantial part of the events or

omissions giving rise to the claim occurred within the District of Columbia and because the
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anticipated harm which would occur if the injunctive relief were not granted would occur within

the District of Columbia.

                                                 FACTS

5)    Plaintiff is an attorney with the Whistleblower Firm in Tampa, Florida, specializing in

sensitive qui tam and related actions. Many of her cases are filed in conjunction with the United

States Department of Justice, and are filed under seal pursuant to orders of several United States

District Courts.

6)    Plaintiff uses and maintains a cell phone and a back-up cell phone for both personal and

professional purposes (collectively, “cell phone”). Her cell phone contains stored emails and

attachments, as well as means of access to electronic communications providers (email

providers) which similarly store emails related to these cases.

7)    Her cell phone and the stored emails at the providers contained materials which are

protected under the attorney client privilege and attorney work product protection doctrine;

confidential client-communications protected by the applicable rules of professional

responsibility for attorneys; and sealed and otherwise confidential material with respect to her

whistleblower and qui tam cases.

8)    In addition, both her cell phone and her stored emails contain sensitive information about

the operation of her law firm, including personnel information, Protected Health Information

(PHI), Personally Identifiable Information (PII) about firm employees, credit card and other

financial information, billing and retainer information with respect to clients, and other

confidential files and folders.




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9)    Plaintiff’s cell phone was a “computer” as that term is used in 18 U.S.C. § 1030(e)(1).

Plaintiff’s cell phone was also a “protected computer,” as that term is used in 18 U.S.C. §

1030(e)(2), because it was used in or affecting interstate or foreign commerce.

10)   Plaintiff’s cell phone contained files and communications regarding the parties’ divorce

and subsequent custody litigation in the D.C. Superior Court, including confidential attorney-

client privileged information and attorney work product protected information.

11)   Defendant is a non-practicing attorney, licensed to practice in New Mexico.

12)   From December, 2017 through and including January 31, 2018, Plaintiff’s ex-husband,

Defendant Grayson Paul Wolfe, stole and kept without authority Plaintiff’s back-up cell phone

when he took it from their minor child who was in his father’s custody in Washington, D.C.

13)   The Defendant obtained through coercion from their minor child, without the

authorization or consent of the Plaintiff, the Plaintiff’s password to the cell phone (the “Personal

Identification Number,” or “PIN”). By entering the PIN into the back-up cell phone, the

Defendant obtained unauthorized access to this cell phone, and Defendant Wolfe thereby

obtained unauthorized access to thousands of the Plaintiff’s files, folders and electronic

communications on the back-up cell phone.

14)   Over the course of the next several weeks, Wolfe not only accessed these files without

authorization, but copied these files by using his own cell phone to take hundreds of pictures of

contents of Plaintiff’s cell phone, and retaining these pictures.

15)   On or about December 30, 2017, upon learning that Wolfe had possession of her cell

phone, Plaintiff demanded that the phone be returned.

16)    When Plaintiff called the Washington, D.C. Metropolitan Police Department (MPD) to

investigate, Wolfe informed the responding officer that he was no longer in possession of the




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phone, having given it to his attorney. Even after this date, Wolfe continued to access and to

photograph the contents of Plaintiff’s cell phone, demonstrated by the declaration of Dr. Neil

Krawetz which shows that some of the pictures produced in discovery by Mr. Wolfe were taken

on January 9, 2018.

17)   On October 11, 2018, in proceedings before the D.C. Superior Court (Dkt No. 2009 DRB

00921) Wolfe for the first time indicated that he had both accessed Plaintiff’s confidential files

and computer (cell phone), and provided in discovery copies of the photographs he had taken of

some of the files he had stolen from her phone.

18)   Wolfe also used files he had downloaded or viewed on Plaintiff’s cell phone to develop

his strategy in connection with the custody case between the parties, to formulate discovery

requests and questions, and to otherwise threaten and intimidate Plaintiff.

19)   On November 3, 2018, in connection with the custody case in the D.C. Superior Court,

Wolfe provided some contents of files stolen from Plaintiff’s phone.

20)   Wolfe accessed not only the files that were stored on the phone itself, but used passwords

stored on the phone to access resources of Internet-connected services, including accessing

facilities which contained stored electronic communications.

21)   Wolfe continues to retain, have access to, disclose and, most importantly, use the files,

stored communications, photographs and other documents he copied from Plaintiff’s cell phone;

and he continues to use the files he examined and read at the time he made unauthorized access

to Plaintiff’s cell phone in connection with legal proceedings.

22)   The retention and use of the aforesaid information was obtained in violation of 18 U.S.C.

§ 1030 and 18 U.S.C. § 2701; and is likely to cause irreparable harm to Plaintiff as the




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information, once disclosed or used, cannot be “undisclosed” and returned to its confidential,

non-public status.

23)       The retention and use of the aforesaid information, obtained in violation of 18 U.S.C. §

1030 and 18 U.S.C. § 2701 is likely to cause irreparable harm to Plaintiff’s clients, including

those plaintiffs in qui tam cases whose identities are seal; to various United States government

agencies; and to various United States District Courts in connection with the confidentiality of

matters related to False Claims Act, qui tam and other whistleblower suits filed across the

country.

                                   FIRST CAUSE OF ACTION

           (Unlawful Access to Financial Information—Computer Fraud and Abuse Act)
                                   18 U.S.C. § 1030(a)(2)(A)

24)   Plaintiff repeats and realleges the allegations in paragraphs 1-23 hereof, as if fully set out

herein.

25)   From on or about December 17, 2017 through and including January 30, 2018, within the

District of Columbia and elsewhere, the Defendant intentionally accessed Plaintiff’s computer

without authorization or exceeded authorized access, and thereby obtained information

contained in a financial record of a financial institution, or of a card issuer as defined in 15

U.S.C. § 1602(n), or contained in a file of a consumer reporting agency on a consumer, as such

terms are defined in the Fair Credit Reporting Act (15 U.S.C. 1681 et seq.);

26)   Plaintiff suffered damage and loss by reason of Defendant’s actions as provided in 18

U.S.C. § 1030(g).

27)   This damage or loss during a 1-year period aggregated at least $5,000 in value as

provided in 18 U.S.C. § 1030(c)(4)(A)(i).




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                               SECOND CAUSE OF ACTION

             (Unlawful Access to Information—Computer Fraud and Abuse Act)
                                 18 U.S.C. § 1030(a)(2)(C)

28)   Plaintiff repeats and realleges the allegations in paragraphs 1-23 hereof, as if fully set out

herein.

29)   From on or about December 17, 2017 through and including January 30, 2018, within the

District of Columbia and elsewhere, the Defendant intentionally accessed Plaintiff’s protected

computer without authorization or exceeded authorized access, and thereby obtained

information from a protected computer;

30)   Plaintiff suffered damage and loss by reason of Defendant’s actions as provided in 18

U.S.C. § 1030(g).

31)   This damage or loss during a 1-year period aggregated at least $5,000 in value as

provided in 18 U.S.C. § 1030(c)(4)(A)(i).



                                THIRD CAUSE OF ACTION

                      (Unlawful Access to Further a Scheme to Defraud)
                                  18 U.S.C. § 1030(a)(4)

32)   Plaintiff repeats and realleges the allegations in paragraphs 1-23 hereof, as if fully set out

herein.

                                    The Scheme to Defraud

33)   The Defendant operated a scheme or artifice to defraud Plaintiff and others out of money

or property. The object of this scheme was to

      a)      Deprive Plaintiff of her ability to maintain attorney-client confidences with her

      law firm clients;




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      b)        Deprive the Superior Court of the District of Columbia the ability to control,

      through discovery, the flow of information between Plaintiff and Defendant;

      c)        Deprive various United States District Courts the ability to maintain documents

      related to False Claims Act, whistleblower and qui tam cases under seal;

      d)        Deprive various United States government agencies, including the United States

      Department of Justice and the Federal Bureau of Investigation the ability to confidentially

      investigate and evaluate the merits of various False Claims Act, whistleblower and qui

      tam cases which were filed under seal and for which premature disclosure would

      adversely impact the ability of the Federal Government to effectively pursue these

      claims;

      e)        Obtain other money or property, including pursuing attorney’s fee awards in the

      Superior Court for the District of Columbia;

      f)        Obtain valuable custody of the parties’ minor child

      g)        Obtain access to attorney client privileged communications and attorney work

      product protected information concerning Plaintiff’s communications with her counsel

      and others in the underlying custody action, litigation strategy, expert witness

      examination strategy and other valuable information concerning the custody case.

      h)        An object of the scheme or artifice was to defraud Plaintiff, her clients, her

      attorneys, the government and the Courts of money or valuable property.

34)   From on or about December 17, 2017 through and including January 30, 2018, within the

District of Columbia and elsewhere, the Defendant knowingly and with intent to defraud,

accessed Plaintiff's cell phone, which was a protected computer without authorization, or

exceeded authorized access, and by means of such conduct furthered the scheme or artifice to




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defraud and obtained confidential and privileged information, information subject to seal,

information subject to non-disclosure by operation of law, patient/client privacy protected

information and client financial information, each of which constituted a thing of value.

35)   Plaintiff and others suffered damage and loss by reason of Defendant’s actions as

provided in 18 U.S.C. § 1030(g).

36)   This damage or loss during a 1-year period aggregated at least $5,000 in value as

provided in 18 U.S.C. § 1030(c)(4)(A)(i).



                               FOURTH CAUSE OF ACTION
                                   (Computer Extortion)
                                 18 U.S.C. § 1030(a)(7)(B)

37)   The Plaintiff repeats and realleges the allegations in paragraphs 1-23 hereof, as if fully set

out herein.

38)   On or about November 3, 2018, the Defendant, with intent to extort from Plaintiff and

others, money or other thing of value, transmitted in interstate or foreign commerce a

communication containing a threat to obtain information from Plaintiff’s protected computer

without authorization or in excess of authorization.

39)   Plaintiff and others suffered damage and loss by reason of Defendant’s actions as

provided in 18 U.S.C. § 1030(g).

40)   This damage or loss during a 1-year period aggregated at least $5,000 in value as

provided in 18 U.S.C. § 1030(c)(4)(A)(i).




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                                 FIFTH CAUSE OF ACTION

                   (Unlawful Access to Stored Electronic Communications)
                                     18 U.S.C. § 2701

41)   Plaintiff repeats and realleges the allegations in paragraphs 1-23 hereof, as if fully set out

herein.

42)   From on or about December 17, 2017 through and including January 30, 2018, Defendant

accessed and attempted to access without authorization and to exceed the scope of any

authorization to access a facility through which an electronic communication service is

provided.

43)   Defendant used Plaintiff’s cell phone from the District of Columbia and elsewhere to

access and download from the facility through which an electronic communication service is

provided, sensitive and confidential email communications from various communications

service providers including but not limited to those of Plaintiff’s law firm at

nataliek@813whistle.com, of her email account nataliekhawam@yahoo.com, and an additional

email account at nkkesquire@gmail.com.

44)   Defendant intentionally exceeded any authorization to access the facility through which

electronic communications were provided, and thereby obtained, altered, or prevented

authorized access to electronic communications while they were in electronic storage in such

system.




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                                       PRAYER FOR RELIEF

       The Plaintiff Ms. Natalie Khawam, requests that the Court, pursuant to 18 U.S.C. § 1030(g)

and 18 U.S.C. § 2707, issue a Preliminary Injunction prohibiting such conduct, and prohibiting

Defendant, directly or indirectly from retaining or making use or derivative use of any data or

information obtained as a result of the conduct described herein, and such other and further relief

as the Court may deem appropriate. Ms. Khawam requests that the Court issue an Order:

       (1) Requiring the Defendant and such other persons (the Defendant and the Others”) to

immediately cease, desist, and refrain from:

           a. Further accessing any and all documents or electronically stored information or any

               content obtained via digital means such as CD/DVD, USB storage device, or file

               share service in Defendant’s care, custody, or control relating to any data, files,

               photographs, images or communication obtained from Plaintiff’s cellular phone;

               including but not limited to any emails, text messages, information from any

               electronic messaging application, information obtained from any other phone

               application, any other method used to transmit information to Defendant, and any

               and all text messages or electronic communications relating to any discussions

               between Defendant and any third party;

           b. Accessing Plaintiff’s computers, cell phones, and computer accessories or any

               accounts or networks connected to these computers or cell phones, including but

               not limited to financial accounts, email accounts, iTunes or other linked accounts,

               or any cloud backup or service.




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          c. Accessing Plaintiff’s personal information and/or communications, in any format,

               from Plaintiff’s internet service provider, e-mail account providers, cell phone

               service provider, and instant messaging services;

          d. Disseminating, sharing, copying, downloading, recording, or otherwise duplicating

               any electronic communications, information, files, records, recordings, videos,

               photographs, images, or any other data compilation in any format, which contains

               any of Plaintiff’s communications, writings, thoughts, images, personal

               information, or professional information;

          e. Any direct or indirect use of any of the materials in paragraphs (a) through (d),

               above, or the contents of those materials;

          f.   Any destruction, alteration, manipulation, or deletion of the material specified in

               paragraph (d) above.

(2)   Ordering the Defendant and the Others with knowledge of the Court’s order, to

immediately:

          g. disclose, produce, or surrender to the Court under seal, and to Plaintiff, all

               electronic files, and other recordings or copies of Plaintiff’s electronic

               communications, in any form;

          h. not use, directly or indirectly, any document or electronic communication with

               Plaintiff’s personal or professional information for any purpose without leave of

               this Court;

          i. return, delete, or destroy any document or electronic communication with

               Plaintiff’s personal or professional information;




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          j. not use, not engage in derivative use, and not allow any expert use of any document

              or electronic communication with Plaintiff’s personal or professional information;

              and

(3)    Awarding reasonable attorney’s fees and costs to the Plaintiff under 18 U.S.C. §§ 1030(g)

and 2707(b)(3).



                                      VERIFICATION

       The Plaintiff Ms. Natalie Khawam, affirms and verifies the allegations in this Complaint,

by means of her accompanying Declaration ¶ 31.




                                            Respectfully submitted,


                                             /s/ Andrew Grosso
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*Motion to appeal pro hac vice filed contemporaneously



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